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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

 In Re:                                             CHAPTER 13 CASE

 Christopher John Kovanda                           CASE NO. 20-41688
 asf Kovanda Plastic Surgery, P.L.LC.
 asf Aesthetic Institute of Edina, P.L.L.C.         NOTICE OF OBJECTION TO
                                                    CONFIRMATION OF PLAN
                   Debtor.
 ___________________________________

       TO:     Debtor and other entities specified in Local Rule 3015-3.

       1.      Toyota Motor Credit Corporation, (hereinafter "Movant"), by its undersigned

attorney, moves the Court for the relief requested below and gives notice of hearing herewith.

       2.      The Court will hold a hearing on this objection on Thursday, August 20, 2020, at

10:30 AM, or as soon thereafter as counsel can be heard, before the Honorable William J. Fisher

in Courtroom 8 West of the above entitled Court located at 300 S 4th St, Minneapolis, MN.

       3.      Any reply to this objection must be filed not later than Wednesday, August 19,

2020, which is 24-hours before the time set for the hearing, or filed and served by mail not later

than Monday, August 17, 2020, which is three days before the time set for the hearing (including

Saturdays, Sundays, and holidays). UNLESS A REPLY OPPOSING THE OBJECTION IS

TIMELY FILED, THE COURT MAY SUSTAIN THE OBJECTION WITHOUT A HEARING.

       4.      This Court has jurisdiction over this objection pursuant to 28 U.S.C. §§ 157 and

1334, Federal Rule of Bankruptcy Procedure 5005 and Local Rule 1070-1. This proceeding is a

core proceeding. The petition commencing this case was filed on June 26, 2020. The case is

now pending in this Court.

       5.      This objection arises under 11 U.S.C. § 1322 and Local Rule 3007-1.

       6.      Debtor is indebted to Secured Creditor in the original principal amount of
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$35,462.76, as evidenced by that certain Retail Installment Sale Contract (Simple Finance

Charge) and Security Agreement (“Contract”), dated October 5, 2012, a copy of which is

attached hereto as Exhibit "A", together with interest thereon.

        7.      Debtor's indebtedness is secured by a contract on personal property in which

Debtor has an interest as evidenced by that Retail Installment Sale Contract Simple Finance

Charge (“Contract”), dated June 8, 2016, and executed by Christopher Kovanda. The name and

address of the original creditor is contained in the attached Exhibit "A" covering real property

more commonly known as:

                                           2011 Toyota Highlander
                                         VIN: JTEDC3EH0B2002939

        8.      Said plan is objected to on the basis that it is not feasible and that Debtor will not

be able to make all payments under the plan and to comply with the plan as contemplated by 11

U.S.C. § 1325(a)(6).

        9.      The total debt due and owing to Movant as of the filing date was $9,425.97.

        10.     Debtor’s obligation to Movant arises out of a purchase money security interest

within 910 days preceding the filing of the petition. According to 11 U.S.C. § 1325 (a)(9) and 11

U.S.C. § 1325 (a)(5)(b), Movant is entitled to retain its lien in the Vehicle until the contract

balance is paid in full at the contract interest rate.

        11.     Movant objects to confirmation of the Plan pursuant to 11 U.S.C. § 1325 because:

                        a.       the Plan understates the value of the vehicle; and

                        b.       the Plan does not fully provide for Movant’s allowed secured claim

                                 at the agreed interest rate contained in the Contract or for the total

                                 amount of the claim.

        12.     Movant has been forced to file this Objection to Confirmation to protect its
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interest in the vehicle and has agreed to pay the undersigned counsel reasonable attorney’s fees,

Movant requests that Debtor be required to pay such attorney’s fees as required by the Contract.

       THEREFORE, it is requested that the Court deny confirmation of the Debtor's plan.

Dated: July 16, 2020
                                                 WILFORD, GESKE & COOK P.A.



                                                 /e/ Orin J. Kipp
                                                 Orin J. Kipp, #0390438
                                                 Attorneys for Toyota Motor Credit Corporation
                                                 7616 Currell Blvd, Suite 200
                                                 Woodbury, MN 55125-4393
                                                 (651) 209-3300
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

 In Re:                                             CHAPTER 13 CASE

 Christopher John Kovanda                           CASE NO. 20-41688
 asf Kovanda Plastic Surgery, P.L.LC.
 asf Aesthetic Institute of Edina, P.L.L.C.         MEMORANDUM OF LAW IN SUPPORT
                                                    OF OBJECTION TO CONFIRMATION
                   Debtor.
 ___________________________________


                                  FACTUAL BACKGROUND


         The Debtor filed his Amended chapter 13 plan (the “Plan”) on July 15, 2020. The

confirmation hearing is currently scheduled to be before the Court on August 20, 2020 at

10:30AM. Upon information and belief, the business records of Toyota Motor Credit

Corporation demonstrates a total debt owed related to Toyota Motor Credit Corporation’s on the

Debtor’s vehicle of approximately $9,425.97. The Debtor has only provided for $6,500.00 in the

plan to be paid to Toyota Motor Credit Corporation. In addition, the Debtor has valued the

Collateral at $6,500.00 and Toyota has documentation leading it to a valuation of $15,974.75 and

the plan only provides for an interest rate of 0.03% while the Contract calls for a rate of 6.25%.

Accordingly, the Plan cannot be confirmed as proposed.

                                          ARGUMENT

I.       THE DEBTOR’S PLAN CANNOT BE CONFIRMED AS PROPOSED.

         11 U.S.C. § 1325(a) provides:

                (a) Except as provided in subsection (b), the court shall confirm a plan if — …

                       (1) The plan complies with the provisions of this chapter and with the
                       other applicable provisions of the title;...

                       (3) The plan has been proposed in good faith and not by any means
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                       forbidden by law;…

See 11 U.S.C. § 1325(a). Toyota Motor Credit Corporation is a secured creditor of the Debtor

whose claim is secured only by a 2011 Toyota Highlander. Toyota Motor Credit Corporation is

owed approximately $9,425.97. Toyota Motor Credit Corporation does not list the full amount

of arrears within the Chapter 13 Plan. Moreover, Toyota Motor Credit values the Collateral at

$15,974.75 while the Plan only provides for a secured amount of $6,500.00. Lastly, the Plan’s

proposed interest rate conflicts with the 6.25% required by the Contract.

       Accordingly, because the Plan fails to comply with the provisions of § 1322(b)(2),

pursuant to 11 U.S.C. § 1325(a), the Debtor's plan cannot be confirmed.

                                        CONCLUSION

       Based upon the evidence before the Court and controlling law, Toyota Motor Credit

Corporation respectfully requests that the Court deny confirmation of the Debtor’s modified

chapter 13 Plan.


Dated: July 16, 2020
                                                 WILFORD, GESKE & COOK P.A.



                                                 /e/ Orin J. Kipp
                                                 Orin J. Kipp, #0390438
                                                 Attorneys for Toyota Motor Credit Corporation
                                                 7616 Currell Blvd, Suite 200
                                                 Woodbury, MN 55125-4393
                                                 (651) 209-3300
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

 In Re:                                             CHAPTER 13 CASE
                                                    CASE NO. 20-41688
 Christopher John Kovanda
 asf Kovanda Plastic Surgery, P.L.LC.               UNSWORN DECLARATION FOR PROOF
 asf Aesthetic Institute of Edina, P.L.L.C.         OF SERVICE

                   Debtor.
 ___________________________________

        Laura Francis, employed by Wilford, Geske & Cook P.A., attorneys licensed to practice
law in this Court, with office address at 7616 Currell Blvd, Suite 200, Woodbury, MN 55125-
4393, declares that on July 16, 2020, I served the annexed Notice of Objection to Confirmation
of Plan and proposed Order Denying Confirmation of Plan to each person referenced below, a
copy thereof by enclosing the same in an envelope with first class postage prepaid and depositing
same in the post office at Woodbury, Minnesota addressed to each of them as follows:

Christopher John Kovanda
Post Office Box 390144
Edina, MN 55439

and delivered by e mail notification under CM/ECF on the day e-filed with the Court to each of
them as follows:

Howard A. Lazarus

Gregory A. Burrell

U.S. Trustee

And I declare, under penalty of perjury, that the foregoing is true and correct.

Dated: July 16, 2020

                                                /e/ Laura Francis
                                              Laura Francis
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA

 In Re:                                              CHAPTER 13 CASE
                                                     CASE NO. 20-41688
 Christopher John Kovanda
 asf Kovanda Plastic Surgery, P.L.LC.                ORDER DENYING CONFIRMATION OF
 asf Aesthetic Institute of Edina, P.L.L.C.          PLAN

                   Debtor.
 ___________________________________

       This Chapter 13 Case came on before the Court on August 20, 2020, for hearing on

Debtor's plan of debt adjustment. Appearances were as noted in the record. Upon the record

made at hearing, and all other files and records in this case,



       IT IS HEREBY ORDERED that confirmation of Debtor's plan of debt adjustment, as

filed July 15, 2020, is denied.



 ______________________________                      ______________________________________
 Dated                                               United States Bankruptcy Judge
